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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:11CR125
                                              )
             Plaintiff,                       )
                                              )
             vs.                              )                     ORDER
                                              )
BEATRIZ LOPEZ-MARISCAL,                       )
                                              )
             Defendant.                       )

      This matter is before the Court on the Defendant's motion to compel (Filing No. 49)

and supporting brief (Filing No. 50). The government filed a response (Filing No. 52).

      The government stated that two weeks prior to trial it will disclose the identity of the

confidential informant as well as the following information as it relates to the informant:

promises made; details of monies paid in exchange for cooperation; criminal history;

statements; and prior testimony.

      The government's position is reasonable in terms of both the timing and subject

matter of the intended disclosure. In light of the government's representation in its

response, the motion will be denied without prejudice.

      IT IS ORDERED that the Defendant's motion to compel (Filing No. 49) is denied

without prejudice.

      DATED this 22nd day of August, 2011.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge
